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8                          UNITED STATES DISTRICT COURT
9                         EASTERN DISTRICT OF CALIFORNIA
10
11   JONELLE LEWIS, on behalf of               No. 2:07-cv-00490-MCE-DAD
     herself and all others
12   similarly situated,
13                Plaintiffs,
14          v.                                 MEMORANDUM AND ORDER
15   STARBUCKS CORPORATION,
16                Defendant.
17
18                                  ----oo0oo----
19
20           Jonelle Lewis (“Plaintiff”) brought a class action lawsuit
21   against Starbucks Corporation (“Defendant” or “Starbucks”),
22   seeking reimbursement for mileage expenses under California Labor
23   Code § 2802.     Plaintiff filed a Motion for Preliminary Approval
24   of Class Action Settlement on April 28, 2008.          Defendant does not
25   oppose Plaintiff’s motion, and does not oppose class action
26   certification for settlement purposes only.
27   ///
28   ///

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1    For the reasons stated below, Plaintiff’s Motion for Preliminary
2    Approval of Class Action Settlement is GRANTED.1
3
4                                     BACKGROUND
5
6           On or about December 2005, Plaintiff began working for
7    Defendant as an assistant manager at the Starbucks coffee store
8    located in Martell, California.        Plaintiff was promoted to store
9    manager in May 2006, and worked as a shift supervisor beginning
10   in July 2006.       Plaintiff resigned from Starbucks on March 9,
11   2007.       During her employment with Defendant, Plaintiff alleges
12   she regularly used her personal vehicle to perform work-related
13   duties.       Plaintiff alleges that she requested reimbursement from
14   Starbucks for her mileage expenses on various occasions, and “was
15   always advised that, as a matter of company policy, Starbucks
16   does not reimburse employees for mileage expenses.”           Plaintiff
17   further alleges that Starbucks’ California shift supervisors,
18   store managers, and assistant store managers regularly use their
19   personal vehicles to perform work-related duties, and Starbucks
20   does not reimburse those employees for their mileage expenses.
21          On March 12, 2007, Plaintiff, acting on behalf of herself
22   and all others similarly situated, filed her First Amended
23   Complaint for Damages, Restitution, and Civil Penalties in this
24   Court under diversity jurisdiction.
25   ///
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27           1
            Because oral argument will not be of material assistance,
     the Court orders this matter submitted on the briefs. E.D. Cal.
28   Local Rule 78-230(h).

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1    Plaintiff alleges four causes of action in her complaint: (1)
2    Failure to Reimburse Business Expenses; (2) Failure to Pay All
3    Wages Owed at Termination;2 (3) Unfair Competition; and (4) Civil
4    Penalties.     Plaintiff’s causes of action allege violations of
5    California Labor Code §§ 201, 202, 203, 218, 218.5, 218.6, 2802,
6    2699, and 2699.3, as well as violations of California Business
7    and Professions Code §§ 17200 and 17203.         Plaintiff also asserts
8    her right to recover attorney’s fees pursuant to California Code
9    of Civil Procedure § 1021.5.        All of Defendant’s alleged
10   violations stem from Plaintiff’s allegation that Defendant failed
11   to reimburse class members for mileage expenses incurred in the
12   course of employment.
13          On April 28, 2008, Plaintiff moved for Preliminary Approval
14   of Class Action Settlement, and sought certification of the
15   settlement class for settlement purposes only.          The parties have
16   engaged in discovery, including interrogatories, document
17   requests, the deposition of Plaintiff by Defendant, and the
18   Court’s granting of a motion to compel Defendant to provide the
19   names and addresses of class members.         Prior to the release of
20   this information by Defendant, the parties submitted to mediation
21   before the Hon. Edward A. Infante (Ret.), resulting in a final
22   Settlement, including Defendant’s maximum payment of $3,000,000,
23   resolving all claims asserted in this litigation.
24   ///
25
            2
            Plaintiff has since modified her relief sought to exclude
26   waiting time penalties under California Labor Code § 203 due to a
     recent decision by the California Supreme Court which made
27   recovery of business expenses under this section unlikely. See
     Gattuso v. Harte-Hanks Shoppers, Inc., 42 Cal. 4th 554, 572
28   (2007).

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1    There are approximately 30,000 class members, consisting of shift
2    supervisors, store managers, and assistant store managers working
3    for Defendant in California during the period from March 12, 2003
4    to March 19, 2008.      In the Settlement Stipulation filed
5    concurrently with this Motion, Plaintiff estimates class members
6    who submit a claim will receive an average of $60.
7           On May 8, 2008, Defendant filed its Statement of Non-
8    Opposition to Plaintiff’s Motion for Preliminary Approval of
9    Class Action Settlement.       Defendant does not oppose class action
10   certification for settlement purposes only.
11
12                                     STANDARD
13
14          A court may certify a class if a plaintiff demonstrates that
15   all of the prerequisites of Federal Rule of Civil Procedure 23(a)
16   have been met, and that at least one of the requirements of Rule
17   23(b) have been met.      See Fed. R. Civ. P. 23; see also Valentino
18   v. Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996).
19   Before certifying a class, the trial court must conduct a
20   “rigorous analysis” to determine whether the party seeking
21   certification has met the prerequisites of Rule 23.           Id. at 1233.
22   While the trial court has broad discretion to certify a class,
23   its discretion must be exercised within the framework of Rule 23.
24   Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1186 (9th
25   Cir. 2001).
26   ///
27   ///
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1         Rule 23(a) provides four prerequisites that must be
2    satisfied for class certification: (1) the class must be so
3    numerous that joinder of all members is impracticable,
4    (2) questions of law or fact exist that are common to the class,
5    (3) the claims or defenses of the representative parties are
6    typical of the claims or defenses of the class, and (4) the
7    representative parties will fairly and adequately protect the
8    interests of the class.    See Fed. R. Civ. P. 23(a).      Rule 23(b)
9    requires a plaintiff to establish one of the following: (1) that
10   there is a risk of substantial prejudice from separate actions;
11   (2) that declaratory or injunctive relief benefitting the class
12   as a whole would be appropriate; or (3) that common questions of
13   law or fact predominate and the class action is superior to other
14   available methods of adjudication.      See Fed. R. Civ. P. 23(b).
15
16                                  ANALYSIS
17        1.   Settlement Class Meets the Requirements of Rule 23(a)
18
19        Defendant does not oppose Plaintiff’s Motion for Preliminary
20   Approval of Class Action Settlement.      However, in assessing
21   whether Plaintiff’s proposed settlement class fulfills the
22   prerequisites required under Rule 23(a), a court must fully
23   examine the class according to the elements of numerosity,
24   commonality, typicality, and adequacy of representation.         Hanlon
25   v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998).         Where
26   the parties have entered into a settlement agreement before class
27   certification, district courts “must pay ‘undiluted, even
28   heightened, attention’ to class certification requirements....”

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1    Id. (quoting Amchem Products, Inc. v. Windsor, 521 U.S. 591, 620,
2    117 S. Ct. 2231, 2248 (1997)).
3           Under Rule 23(a)(1), numerosity requires that the class be
4    “so numerous that joinder of all members is impracticable.”             As
5    noted by the court in Riordan v. Smith Barney, the geographical
6    disbursement of class members outside of one district increases
7    impracticability of joinder, and “when the class is large,
8    numbers alone are dispositive.”        113 F.R.D. 60, 62 (N.D. Ill.
9    1986).    In the instant case, the class consists of approximately
10   30,000 members, found in California’s four federal districts.
11   While the exact number of class members is unknown, a
12   demonstration of sufficient numerosity has is adequate to meet
13   the requirements of Rule 23(a)(1).         In re Computer Memories Secs.
14   Litig., 111 F.R.D. 675, 679 (N.D. Cal. 1986).
15          Under Rule 23(a)(2), the requirement of commonality is
16   satisfied if “there are questions of law or fact common to the
17   class.”    In Hanlon, the Ninth Circuit stated that this
18   requirement is construed permissively, noting that commonality
19   can be found through “[t]he existence of shared legal issues with
20   divergent factual predicates....”         150 F.3d at 1019.    In the
21   instant case, the proposed class shares the common legal issue of
22   whether California law entitles them to reimbursement of their
23   work related mileage expenses from Defendant.          Minor factual
24   differences stemming from each class member’s individual mileage
25   accumulations do not defeat commonality.         Blackie v. Barrack, 524
26   F.2d 891, 902 (9th Cir. 1975).
27   ///
28   ///

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1           The typicality requirement of Rule 23(a)(3) is satisfied if
2    the claims of the representative parties are typical of the
3    claims of the class.      Typicality is satisfied where the requisite
4    claims “share a common issue of law or fact and are sufficiently
5    parallel to insure a vigorous and full presentation of all claims
6    for relief.”     Cal. Rural Legal Assistance, Inc. v. Legal Servs.
7    Corp., 917 F.2d 1171, 1175 (9th Cir. 1990).          Typicality does not
8    require the claims to be identical.         Hanlon, 150 F.3d at 1020.
9           Here, Plaintiff and all other class members claim the same
10   injury, namely, Defendant’s alleged violation of California law
11   regarding reimbursement of work related mileage expenses.            They
12   all also seek the same relief, reimbursement for their work
13   related mileage expenses from Defendant, restitution, and civil
14   penalties.     While there are minor factual differences in each
15   class member’s mileage accumulation, these differences are not
16   dispositive to a finding of typicality.         See In re Activision,
17   621 F. Supp. 415, 428 (N.D. Cal. 1985).
18          Under Rule 23(a)(4), Plaintiff must prove that “the
19   representative parties will fairly and adequately protect the
20   interests of the class.”       In Hanlon, the Ninth Circuit listed the
21   factors necessary to establish adequate representation: (1) the
22   named plaintiffs and their counsel must not “have any conflicts
23   of interest with other class members,” and (2) must show they
24   will “prosecute the action vigorously on behalf of the class.”
25   150 F.3d at 1020.
26   ///
27   ///
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1           In the instant case, Plaintiff and all other class members
2    allege the same injury and seek the same remedies under
3    California law.      Plaintiff held all of the positions included in
4    the class description within the defined time frame.           No
5    conflicts of interest exist between representative parties and
6    class members where “each potential plaintiff has the same
7    problem...” and there is no showing of conflicting state law.
8    Id. at 1021.     Further, Defendant has not argued that Plaintiff or
9    Plaintiff’s counsel will fail to vigorously prosecute the action.
10   Plaintiff and Plaintiff’s counsel’s active pursuit of this action
11   has been demonstrated throughout the litigation.           For example,
12   their actions in compelling discovery demonstrate their
13   commitment to achieving the common cause for all class members.
14   Plaintiff’s counsel have been shown to have significant class
15   action experience, and the Ninth Circuit has established adequacy
16   of representation based on this fact alone.          See Local Joint
17   Executive Bd. of Culinary/Bartender Trust Fund v. Las Vegas
18   Sands, Inc., 244 F.3d 1152, 1162 (9th Cir. 2001).           Accordingly,
19   Plaintiff has properly established adequacy of representation
20   required under Rule 23(a)(4).
21          Plaintiff has established facts sufficient to meet the four
22   factors of Rule 23(a).       This Court must now examine whether the
23   circumstances of the litigation meet the requirements of the
24   second hurdle to settlement class certification set by Rule
25   23(b).
26   ///
27   ///
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1           2.    Settlement Class Meets the Requirements of Rule 23(b)
2
3           As noted above, Rule 23(b) requires a plaintiff to establish
4    one of three independent conditions.          In the instant case,
5    Plaintiff has asserted that settlement class certification
6    qualifies under Rule 23(b)(3), which requires that common
7    questions of law or fact predominate over any individual claims
8    and that the class action is superior to other available methods
9    of adjudication.      See Fed. R. Civ. P. 23(b).
10          The predominance analysis under Rule 23(b)(3) asks whether
11   the settlement class is “sufficiently cohesive to warrant
12   adjudication by representation.”          A finding of a “common nucleus
13   of facts and potential legal remedies” is sufficient to establish
14   predominance.     Hanlon, 150 F.3d at 1022.      In the instant case,
15   the predominant issue common to all class members is whether
16   Starbucks had a policy or practice of failing to reimburse those
17   employees for mileage expenses, and, as stated above, all class
18   members seek the same relief.        Class certification is not
19   prevented here by the minor variation in each individual’s
20   measure of damages.      See Blackie, 524 F.3d at 905.       Moreover, the
21   consolidation of litigants with a common, predominant issue
22   achieves judicial economy, a policy implicit in the predominance
23   requirement.     Valentino v. Carter-Wallace, Inc., 97 F.3d 1227,
24   1234 (9th Cir. 1996).
25          The superiority element of Rule 23(b)(3) requires Plaintiff
26   to establish that the proposed class action is superior to other
27   alternative methods of resolving the dispute.
28   ///

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1    As stated by the Ninth Circuit in Valentino, “[a] class action is
2    the superior method for managing litigation if no realistic
3    alternative exists.”    97 F.3d at 1234-35.     In the instant case,
4    the alternative to a class action is potentially thousands of
5    individual cases seeking damages unlikely to cover the costs of
6    litigation, and thus no tangible alternative remedy exists.
7    Where a case involves “multiple claims for relatively small
8    sums,” the plaintiffs’ only adequate dispute resolution option is
9    a class action.    Culinary/Bartender Trust Fund, 244 F.3d at 1163.
10   The circumstances of the instant case demonstrate that a class
11   action is the superior method of resolution, and is the only
12   realistic alternative.
13        Moreover, Rule 23(b)(3) contains a list of factors to
14   consider in determining superiority, and each of the relevant
15   factors are met in this case.     See Fed. R. Civ. P. 23(b)(3).
16   First, as noted by Plaintiff in the motion for preliminary
17   approval, “class members have no particular interest in
18   individually controlling the prosecution of separate actions,”
19   and class members have the option to “opt out” of the class
20   action and manage their own claim.      Second, there are no
21   competing actions by class members, as the plaintiff in the sole
22   competing action concerning this controversy has chosen to
23   eliminate any overlapping claims.3      Third, concentrating the
24   litigation in this forum is desirable, considering all class
25   members reside in California and Defendant has not moved to
26   transfer venue.
27
28        3
              See Vargas v. Starbucks Corp., No. 08-1895 FMC (C.D. Cal).

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1    Further, as the parties have already agreed on a settlement, “the
2    desirability of concentrating the litigation in one forum is
3    obvious.”    Elkins v. Equitable Life Ins. of Iowa, 1998 WL 133741,
4    at *20 (M.D. Fla. 1998).     The final factor under Rule 23(b)(3),
5    the “likely difficulties in managing a class action,” does not
6    apply to certification of a settlement class.        In Anchem, the
7    Ninth Circuit stated “a district court need not inquire whether
8    the case, if tried, would present intractable management problems
9    ... for the proposal is that there be no trial.”        521 U.S. at
10   620.
11          Because Plaintiffs have established facts sufficient to meet
12   the requirements of Rule 23(a) and (b), they have satisfied the
13   elements essential to settlement class certification.         However,
14   Rule 23 also requires the proposed Settlement meet the notice
15   requirements of Rule 23(c)(2)(B) and the fairness requirements of
16   Rule 23(e).
17
18          3.   Settlement Meets the Notice Requirements of Rule
                 23(c)(2)(B)
19
20          Under Rule 23(e)(1), notice of the proposed settlement must
21   be provided to all class members before a final approval of a
22   class action settlement may issue.       Where a class is certified
23   under Rule 23(b)(3), the notice must meet the requirements of
24   Rule 23(c)(2)(B).    The notice must be the “best notice ...
25   practicable under the circumstances,” and must provide individual
26   notice to all class members identified from a reasonable effort.
27   See Fed. R. Civ. P. 23(c)(2)(B).        Actual notice is not required
28   under Rule 23(c)(2)(B).

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1    See Silber v. Mabon, 18 F.3d 1449, 1454 (9th Cir. 1994).            In
2    Mullane v. Central Hanover Bank & Trust Co., the Supreme Court
3    held that notice must be “reasonably calculated ... to apprise
4    interested parties of the pendency of the action and afford them
5    an opportunity to present their objections.”           339 U.S. 306, 314.
6    Notice by mail is sufficient to provide due process to known
7    affected parties.      Id. at 318.
8           The parties have agreed to notify class members at their
9    last known addresses via first-class mail.          The addresses will be
10   sourced from Starbucks’ records, and if delivery is unsuccessful,
11   from an agreed upon commercial database.          Individual notice will
12   be mailed to all class members whose identities are known to the
13   parties, and such notice is the best notice practicable.
14          Under Rule 23(c)(2)(B), the notice must be clear and
15   concise, and state in plain, easily understood language:
16          •     the nature of the action;
            •     the definition of the class certified;
17          •     the class claims, issues, or defenses;
            •     that a class member may enter an appearance
18                through an attorney if the member so desires;
            •     that the court will exclude from the class any
19                member who requests exclusion;
            •     the time and manner for requesting exclusion; and
20          •     the binding effect of a class judgment on members
                  under Rule 23(c)(3).
21
22   See Fed. R. Civ. P. 23(c)(2)(B).
23   ///
24   ///
25   ///
26   ///
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1         In the instant case, the parties’ proposed notice
2    sufficiently meets all of the above requirements.        See Settlement
3    Stipulation, Ex. A.     The proposed notice of class action
4    settlement is sufficient to inform class members of the terms of
5    the settlement, their rights under the settlement, their rights
6    to object to the settlement or elect not to participate in the
7    settlement, the processes for doing so, and the date and location
8    of the final approval hearing.     Because Plaintiff has satisfied
9    the requirements of settlement class certification under Rule 23,
10   her Motion for Preliminary Approval of Class Action Settlement is
11   granted.
12
13        4.      Settlement Meets the Requirements of Rule 23(e)
14
15        Rule 23(e) “requires the district court to determine whether
16   a proposed settlement is fundamentally fair, adequate, and
17   reasonable.”     Hanlon, 150 F.3d at 1026.    Towards this end, the
18   Ninth Circuit has provided a non-exhaustive list of fairness
19   factors for district courts to analyze, but the weight given to
20   each factor varies based on the unique circumstances in each
21   case.     Officers for Justice v. Civil Service Com'n of City and
22   County of San Francisco, 688 F.2d 615, 625 (9th Cir. 1982).          The
23   factors may include: (1) the strength of the plaintiffs’ case;
24   (2) the risk, expense, complexity, and likely duration of further
25   litigation; (3) the risk of maintaining class action status
26   throughout the trial; (4) the amount offered in settlement;
27   (5) the extent of discovery completed, and the stage of the
28   proceedings; (6) the experience and views of counsel;

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1    (7) the presence of a governmental participant; and (8) the
2    reaction of the class members to the proposed settlement.            Id.
3    Further, a settlement agreement must not be “the product of fraud
4    or overreaching by, or collusion between, the negotiating
5    parties.”     Id.
6           Preliminary investigation into the instant case shows that
7    the parties engaged in relevant discovery, negotiated the
8    settlement at arm’s-length in front of an impartial mediator, and
9    obtained a compromise which should provide class members with
10   reasonable relief considering the likely damages incurred and the
11   difficulties inherent in establishing liability at trial.            While
12   the parties did not fully complete discovery prior to settlement
13   negotiations, approval of a class action settlement is proper as
14   long as discovery allowed the parties to form a clear view of the
15   strengths and weaknesses of their cases.          In re Immune Response
16   Secs. Litig., 497 F. Supp. 2d 1166, 1174 (S.D. Cal. 2007).
17   Plaintiff contends that the discovery process was sufficient to
18   achieve this goal, and Defendant does not oppose this claim.
19   Further, the approximate $60 settlement per class member is a
20   reasonable compromise in light of IRS mileage reimbursement rates
21   and the close proximity of Starbucks stores to probable work-
22   related destinations such as other Starbucks stores, banks, and
23   grocery stores.
24          Moreover, in light of the fairness factors listed above,
25   Defendant has denied liability on all causes of action, and has
26   agreed to class certification for settlement purposes only.
27   ///
28   ///

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1    Should the proposed settlement be dismissed, it is probable that
2    protracted litigation over class certification, discovery, and
3    the actual claims at issue will commence.       Because it is
4    impossible to predict the ultimate outcome of a class action
5    trial and the resulting impact on any class members, review of a
6    district court’s settlement approval by the Ninth Circuit is
7    limited to an evaluation of whether the “fees and relief
8    provisions clearly suggest the possibility that class interests
9    gave way to self interest.”     Staton v. Boeing Co., 327 F.3d 938,
10   961 (9th Cir. 2003).    In the instant case, there appears to be no
11   evidence of collusion or overreaching.       Thus, at this preliminary
12   stage, the proposed settlement appears fair, adequate, and
13   reasonable, appears to be the product of arm’s-length and
14   informed negotiations, and appears to treat all class members
15   fairly.   This finding will be further reviewed, according to the
16   fairness factors listed above, following appropriate notice to
17   the class members and a final approval hearing.
18
19        5. Attorney’s Fees and Plaintiff Enhancement
20
21        In the Settlement Stipulation, the parties have agreed to
22   compensate Plaintiff’s counsel $750,000 for their fees and costs,
23   equaling 25% of the total settlement fund, subject to approval by
24   this Court.   The Ninth Circuit held in Vizcaino v. Microsoft
25   Corp. that in common fund cases such as the instant case, the
26   district court has discretion to apply either the percentage of
27   the fund method or the lodestar method for determining attorney’s
28   fees and costs.   290 F.3d 1043, 1047 (9th Cir. 2002).

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1    Where the percentage method has been deemed appropriate, a
2    benchmark of 25% of the fund is proper.           Paul, Johnson, Alston &
3    Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir. 1989).            This
4    percentage may be adjusted to account for unusual circumstances.
5    Id.    Factors influencing whether a percentage method is
6    appropriate include early settlement, achievement of an excellent
7    result, risk, and a showing of standard fees for similar
8    litigation.      Vizcaino, 290 F.3d at 1048-50.
9           The lodestar method, multiplying reasonable hours worked by
10   a reasonable rate, may be used as a cross-check on the
11   reasonableness of fees awarded through a percentage method, but
12   this cross-check is not required.          Id.   The Ninth Circuit has
13   stated, “as always, when determining attorneys' fees, the
14   district court should be guided by the fundamental principle that
15   fee awards out of common funds be ‘reasonable under the
16   circumstances.’”      In re Washington Pub. Power Supply Sys. Sec.
17   Litig., 19 F.3d 1291, 1296 (9th Cir. 1994) (quoting Florida v.
18   Dunne, 915 F.2d 542, 545 (9th Cir. 1990) (emphasis in original)).
19          In the instant case, Plaintiff’s counsel have achieved
20   substantial results for the class at an early stage of
21   litigation.      The common fund doctrine “rests on the perception
22   that persons who obtain the benefit of a lawsuit without
23   contributing to its cost are unjustly enriched at the successful
24   litigant’s expense.”       Staton v. Boeing Co., 327 F.3d 938, 967
25   (9th Cir. 2003).      The common fund doctrine allows the
26   distribution of the costs of litigation among those benefitting
27   from the efforts of the litigants and their counsel.            Paul,
28   Johnson, Alston & Hunt, 886 F.2d at 271.

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1    Use of a lodestar calculation would punish Plaintiff’s counsel
2    for the early proposed settlement, and thus may impede settlement
3    efforts in similar cases.
4           In order to fairly distribute the costs of litigation under
5    the common fund doctrine, and to properly compensate Plaintiff’s
6    counsel for their successful efforts on behalf of approximately
7    30,000 class members, the Court preliminarily finds Plaintiff’s
8    request for attorneys’ fees and costs set at 25% of the common
9    fund to be reasonable.       The Court will revisit this finding at
10   the final approval hearing, in light of any proposed objections
11   or further information provided by the parties.
12          Likewise, Plaintiff’s requested enhancement of $5,000 also
13   appears reasonable.       In Staton, the Ninth Circuit stated that
14   “named plaintiffs ... are eligible for reasonable incentive
15   payments.”     327 F.3d at 976-77.      District courts must examine
16   each proposed incentive award, considering the plaintiff’s
17   actions protecting class interests, the benefit provided to the
18   class based on those actions, and the amount of time and effort
19   expended by the plaintiff.        Id. (citing Cook v. Niedert, 142 F.3d
20   1004, 1016 (7th Cir. 1998)).        Here, Plaintiff’s actions in
21   bringing the action and participating in discovery and mediation
22   resulted in a settlement that, if approved, will provide monetary
23   relief to a large class of former and current Starbucks
24   employees.     The requested payment appears reasonable in light of
25   Plaintiff’s efforts, however the Court will revisit this
26   preliminary finding following the final approval hearing.
27   ///
28   ///

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1                                     CONCLUSION
2
3           Plaintiff’s Motion for Preliminary Approval of Class Action
4    Settlement is GRANTED.
5           The Court hereby certifies the class preliminary and solely
6    for the purpose of settlement.        The class consists of “all
7    persons employed by Starbucks in the job categories of shift
8    supervisor, assistant store manager, or store manager within the
9    state of California during the period from March 12, 2003 until
10   March 19, 2008.”
11          The Court hereby appoints Rust Consulting, Inc. as the
12   Claims Administrator pursuant to the Settlement Stipulation.                The
13   Claims Administrator shall mail out notice of the settlement,
14   claim forms and a reminder postcard in accordance with the
15   settlement agreement.
16          The Court hereby appoints Plaintiff as class representative,
17   and Spiro Moss Barness LLP as class counsel.
18          The final approval hearing will be held on December 5, 2008,
19   9:00 a.m. in Courtroom 7 to determine whether the settlement
20   should be granted final approval as fair, reasonable, and
21   adequate.     At the final approval hearing, the Court will hear any
22   further evidence and argument necessary to evaluate the
23   settlement and will consider Plaintiff’s application for an
24   enhancement and an award of attorney’s fees and costs.
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1         Any class member who does not submit a timely request for
2    exclusion from the settlement may appear at the final approval
3    hearing in person or by his or her own attorney and object to the
4    settlement, the application for an award of attorney’s fees and
5    costs, or the application for an enhancement for Plaintiff.          To
6    be considered at the hearing, comments or objections from class
7    members must be filed with the Court, and mailed to class counsel
8    and Starbucks’ counsel, not later than 30 days after the Claims
9    Administrator mails the class notice.
10        The Court reserves the right to continue the date of the
11   final approval hearing without further notice to class members.
12        IT IS SO ORDERED.
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     Dated: September 10, 2008
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15                                    _____________________________
16                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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